           Case
6/20/25, 3:43 PM 1:25-cv-01224-TWP-CSW              DocumentAOL
                                                             4-2Mail - Filed  06/20/25
                                                                       Case #22794211          Page 1 of 1 PageID #:
                                                           23

     Case #22794211

     From: Coinbase Support (help@coinbase.com)

     To:      elberteclll@aol.com

     Date: Monday, April 28, 2025 at 04:25 AM EDT



     Hello Elbert Coleman,

     Thank you for submitting a Formal Complaint through Coinbase.

     We noticed that you previously submitted a complaint to us via the Consumer Financial Protection Bureau (CFPB)
     regarding this issue. Our response to your CFPB complaint is in progress, so we are closing this complaint and will
     respond via the CFPB case once our investigation has been completed. Please feel free to contact our Coinbase
     Support Team if you have a new issue that needs our attention.

     Best Regards,

     Jubilyn
     Coinbase Complaints Analyst


     thread::7uuLAPUDCgqtjwsDu9SUrxI::




about:blank                                                                                                                1/1
